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UNITED STATES DISTRICT COURTMBY%__ D.C.

Western District of Tennessee
05 JUL ~'7 PH |2= 28

UNITED STATES oF AMERICA TPOM\SM.GUX.D
Plaintiff, M US F}S»SMCO\M
W}D OF i`i'§, §MH'BS‘
vS. case Number 2=01CR20141~0:L

OBRY LENE REED
Defendant.

CHIDGHEEDEP ALHJ CCHMMIEHHEDEE CEUDEI!

ON SUPERVISED RELEASE VIOLATION
(For Offenses Committ.ed On or A:Eter Nove:nber 1, 1987)

The defendant, Obry Lene Reed. was represented by Doris A. Randle-Holt, Esq.

It appearing that the defendant, who was convicted on November 26, 2001 in the above
styled cause and was placed on Supervised Release for a period of three (3) years and has

violated the terms of Supervised Release.

It is hereby ORDERED and ADJUDGED that the Supervised Release of the defendant be
revoked and that the defendant be committed to the custody of the United States Bureau
of Prisons to be imprisoned for a term of eight (8) months with execution of sentence to

be deferred until after October 5, 2005.

The defendant is allowed to remain released on present bond.

signed this the IQ`M”‘ day of Juiy, 2005.

BE ICE B. D NALD
UNITED STATES DISTRICT JUDGE

Defendant's SS No.: XXX-XX-XXXX

Defendant‘s Date of Birth: 04/11/1968

U.S. Marshal No.: 17822-076

Defendant's Mailinq Address: 4559 Water Mill Drive. Memphis TN 3 16 /,>

Thls document entered on the docket s ` ` n¢e/ 95

   

with Rule 55 and/or 32{|3) FRCrP on

 

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This notice confirms a copy of the document docketed as number 95 in
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PDA

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Honorable Bernice Donald
US DISTRICT COURT

